MIED Case
     (Rev. 6/05)2:17-cv-10623-DPH-DRG                               ECF No.
                 Ex Parte Motion for Leave to File Exhibits in the Traditional Manner2    filed 02/27/17        PageID.39   Page 1 of 1

                                                        UNITED STATES DISTRICT COURT
                                                        EASTERN DISTRICT OF MICHIGAN

BRUCE MEYERS, et al


                        Plaintiff(s),                                                Case No. 2:17-cv-10623-PDB-DRG

v.                                                                                   Judge Paul D. Borman

VILLAGE OF OXFORD, et al                                                             Magistrate Judge David R. Grand


                        Defendant(s).
                                                                             /

                                                EX PARTE MOTION FOR LEAVE TO FILE
                                                EXHIBITS IN THE TRADITIONAL MANNER

            NOW COMES the undersigned, and pursuant to the Electronic Filing Policies and Procedures, seeks leave

of this Court to file exhibits in the traditional manner.

            The exhibits to                                                         Complaint (Dk No. 1)

cannot be authentically converted to electronic form for the following reason(s):

Exhibits F and I (as referenced in the Complaint) are large file-size video recordings which cannot be
submitted via ECF. Plaintiff requests to be permited to file these recordings on a CD with the Court Clerk.



            For the foregoing reasons, the undersigned respectfully requests that this Court grant the leave sought in this

motion.


Date: February 27, 2017                                                                  s/ Philip L. Ellison

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